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      8
                         UNITED STATES DISTRICT COURT
      9                 CENTRAL DISTRICT OF CALIFORNIA
    10                     (Western Division - Los Angeles)
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    15                                             CASE NO.: 2:19-cv-02720-PA-
                                                   MRW
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    17     Rafael Arroyo, Jr.                      THE HONORABLE PERCY
    18                  Plaintiff,                 ANDERSON

    19                     vs.                     DEFENDANTS' OBJECTION TO
    20     Kazmo, LLC; Staffing and                PLAINTIFF'S ATTEMPTED
                                                   FILING OF POST-JUDGMENT
    21     Management Group, Inc.                  ACCEPTANCE OF RULE 68
    22                 Defendants.                 OFFER
    23
                                                   Complaint Filed: 4/10/19
    24                                             Trial Date: 4/7/20
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      1
                DEFENDANTS' OBJECTION TO PLAINTIFF'S ATTEMPTED
      2
               FILING OF POST-JUDGMENT ACCEPTANCE OF RULE 68
      3
      4                                       OFFER

      5       Comes now Defendants Kazmo, LLC and Staffing and Management
      6    Group, Inc. (collectively “Defendants”), and by and through their counsel,
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      8    submit the following OBJECTION to the Plaintiff’s attempt to file an
      9    Acceptance of a Rule 68 Offer of Judgment after judgment has been entered
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           in the action.
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     12          This action was filed by Plaintiff, Rafael Arroyo, Jr., on April 10,
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           2019, alleging, inter alia, violations of the Americans with Disabilities Act.
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     15    The matter was set for trial on April 7, 2020. In that connection, the
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           Defendants made a routine, pre-trial Rule 68 Offer of Judgment on or about
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     18    March 4, 2020. However, because the Plaintiff had failed to comply with
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           the Court’s Scheduling Order, the Court issued final judgment against the
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     21    Plaintiff for failure to prosecute on March 5, 2020, which judgment was
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           entered by the Clerk of the Court on March 6, 2020.
     23
     24          Following the parties’ being electronically notified of the Court’s
     25    action through the PACER system on March 5, 2020, Plaintiff attempted to
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     27    “accept” the Rule 68 Offer of Judgment, notwithstanding the existence of
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      1    the Court’s original final judgment. Defendants objected to the Plaintiff’s
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           attempt to circumvent the Court’s judgment with their belated “acceptance.”
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      4    Nevertheless, the Plaintiff has now attempted to file the acceptance as a
      5
           second judgment under Rule 68’s “self-executing” procedure.
      6
      7          Defendants object to this use of Rule 68 to circumvent the finality of
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           the judgment already entered by this Court. Plaintiff has failed to make a
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     10    motion under Rule 60 for relief from judgment (a motion that would still
     11
           leave the finality of the existing judgment unaffected, see F.R. Civ. P. Rule
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     13    60(c)). The issue here is not one where the parties engaged in post-
     14    judgment discussions and agreed to privately settle the matter
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     16    notwithstanding the judgment. Rather, Defendants made a Rule 68 offer
     17    prior to the Court’s entry of judgment, and upon the issuance of that
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     19
           judgment, the Rule 68 offer expired by operation of law.

     20       Plaintiff’s failure to accept the offer, prior to the rendering of a less-
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           favorable judgment by the Court, triggers the cost-shifting mechanism of
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     23    Rule 68(d). To permit the filing of an “acceptance” of a Rule 68 offer in a
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           post-judgment situation would adversely impact the finality of judgments in
     25
     26    general, as this would permit a Plaintiff to “accept” a late-pending Rule 68
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      1    offer at any time that a less-favorable judgment is rendered, and allow that
      2
           party to substitute its regret for the judgment of the Court and/or the jury.
      3
      4       Respectfully submitted: Thursday, March 12, 2020
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      6                                            _______________________________
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                                                                       Ara Sahelian, Esq.
      8                                                           Attorney for Defendants
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